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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

Henry Horner Mothers Guild, et al.,

                             Plaintiffs,
                                             No. 91 C 3316
                             v.
                                             Jeffrey T. Gilbert
Chicago Housing Authority, et al.            United States Magistrate Judge

                            Defendants.



                                      ORDER
      Plaintiffs Motion to Compel Discovery and For Other Relief [ECF No. 472]
("Motion") is granted in part and denied in part for the reasons explained below.
        As a threshold matter, Defendant Chicago Housing Authority ("CHA'') says
Plaintiff Henry Horner Mothers Guild ("Plaintiff') did not comply with Local Rule
37.2 before it filed its Motion. The Court disagrees. The parties bickered about
Plaintiffs discovery requests for months before Plaintiff sought relief from the Court.
Both parties have indicated repeatedly they are interested in resolving this matter.
Plaintiff, however, says it needs more information from CHA before it can
intelligently evaluate the possibility of settlement. CHA, apparently believing
Plaintiff has all the information it needs to talk settlement, wants to prioritize
settlement discussions over Plaintiffs discovery requests. It is clear to the Court from
the briefing on Plaintiffs Motion that the parties reached impasse on the matters set
out in that Motion before it was filed. Plaintiff points out that CHA even suggested
in a November 2024 email sent before the Motion was filed that it might be better for
the parties to discuss the discovery Plaintiff was seeking after Plaintiff filed its
Motion. Motion [ECF No. 472] at 3. That, in fact, is what CHA said even though that
is not the way the Local Rule 37.2 process is supposed to work. Defendant's Response
to Plaintiffs' Motion to Compel ("Response") [ECF No. 474] at ECF No. 474-3
("Plaintiffs Counsel has made clear their intention to file a Motion to Compel ...
[and] CHA does not wish to discuss discovery in detail outside of Plaintiffs Motion to
Compel at this time."). The Court finds that Plaintiff fully complied with Local Rule
37.2 before filing its Motion.
       There are many interrogatories, requests for production, and one request for
admission at issue in Plaintiff's Motion. CHA says: (1) Plaintiff is seeking classified,
privileged, and confidential information, some of which it cannot produce because of
federal regulations; (2) Plaintiff is seeking documents not in CHA's possession,
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custody, or control; and (3) some of Plaintiffs discovery requests do not comply with
the Federal Rules of Civil Procedure. Plaintiff says: (1) the information it is seeking
is perfectly discoverable under the Federal Rules of Civil Procedure; (2) there is
nothing that bars CHA from producing it if it wishes to do so; and (3) in many
instances, CHA has misconstrued Plaintiffs discovery requests and refused to search
for and produce information that is readily available to it. The Court's rulings on
Plaintiffs Motion are as follows:
        Interrogatory ("INT") No. 2. Plaintiffs Motion is granted. The addresses of
every unit, building, or other piece of real property built or rehabilitated pursuant to
the Consent Decree is not confidential, classified, or privileged information as CHA
maintains. And, of course, if the information was confidential, which it is not, it likely
could be produced pursuant to a standard confidentiality order. As far as the Court
can tell, the location of public or subsidized housing buildings or units in the Chicago
area is public information. Plaintiff says it is on CHA's website. The subset of that
information that Plaintiff is seeking for the Henry Horner Community governed by
the Consent Decree is not classified or privileged or otherwise barred from disclosure
nor does it implicate privacy concerns of either CHA or the people who benefit from
programs administered by CHA. Neither does the federal regulation cited by CHA
prohibit it from disclosing the information Plaintiff is seeking as far as the Court can
tell. That regulation on its face appears to govern what federal agencies can do, and
it is a stretch too far to interpret it to govern the discovery requests to CHA in this
case. Therefore, the Court orders CHA to answer INT No. 2 or produce the
information requested in INT No. 2.
        INT No. 3. Plaintiffs Motion is granted. CHA must produce responsive
information in its possession, custody, or control. Contrary to what CHA says,
Plaintiff does not appear to be requesting any information or documents that is not
in CHA's possession, custody, or control, so that objection is a makeweight or red
herring. And it appears to be CHA's primary objection to these discovery requests. In
INT No. 3, Plaintiff asks for the address of any building, unit or other property within
the Henry Horner Community that, since May 8, 2028, failed an inspection conducted
by the City of Chicago Department of Buildings or any other government entity.
Plaintiff seeks information and documents about failed inspections in CHA's files and
within its knowledge. It is not seeking information from CHA that is solely in the
possession, custody, or control of third parties. In addition, Plaintiff says CHA only
produced responsive documents for building inspection cases that proceeded to
litigation, but Plaintiff also sought information about failed inspections that did not
result in litigation. CHA does not directly respond to that latter argument. To the
extent responsive information exists, therefore, CHA must answer INT No. 3 or
produce the information requested in INT No. 3.
       Requests for Production ("RFP") Nos. 3 and 8. With these RFPs, Plaintiff
is seeking the results of REAC or NSPIRE inspections conducted by the Department
of Housing and Urban Development in 2024 (RFP No. 3) and REAC inspection results
going back to 1995 (RFP No. 8). Specifically, Plaintiff seems to be seeking scoring
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information, appeals documents, and documentation of follow-up on the 2024
inspection. (RFP No. 3 as written seeks "[a]ny and all documents regarding the
preliminary and/or final results of REAC or NSPIRE inspections" but Plaintiff
appears to have focused on less than "any and all documents" in its Motion.) Plaintiffs
RFP No. 8 may be overbroad in seeking all REAC inspection results going back to
1995, but it is not clear that it is unduly burdensome on the CHA to produce these
documents either for that time period or a lesser time period. Although CHA seems
to say that it does not have these documents, Plaintiff says it located the February
2024 inspection score on a HUD website, and it is difficult to believe that CHA has
no responsive documents on these topics. Accordingly, CHA must produce responsive
information and documents in its possession, custody, or control. Alternatively, if the
parties cannot reach satisfactory closure on these requests in the wake of this ruling,
then the Court authorizes Plaintiff to take a Rule 30(b)(6) deposition of a CHA
designee who is fully prepared to testify about the matters contained in these
discovery requests and what, if any, responsive information and documents CHA has
in its possession that it can produce.
       INT No. 11, RFP Nos. 34 and 35. These discovery requests all relate to CHA's
process for monitoring and completing maintenance and work orders. INT No. 3 asks
CHA to "describe" its "process for monitoring progress and completion of maintenance
requests and ensuring that maintenance requests are properly assigned work order
numbers, that these work order numbers are communicated to residents, and that
work orders are properly closed." Plaintiff says the documents CHA produced, in lieu
of providing a narrative answer to the interrogatory, and its reference to the CHA
Yardi system that CHA· apparently uses to communicate with contractors and to
monitor work, and Plaintiffs review of the Rent Cafe, which is a consumer facing
portal, does not contain information that is fully responsive to INT No. 11. RFP Nos.
34 and 35 seek work orders that have been marked as complete even though the
actual work has not been completed and related documentation. CHA objected to
these RFPs, and it seems to say it either has produced responsive documentation or,
if its production is not sufficient for Plaintiffs purposes, then that is because
Plaintiffs discovery requests are "unreasonable," "vague," and "unduly burdensome,"
which potentially are relevance and proportionality objections.
       In the Court's experience, interrogatories that ask an opposing party to
describe a process often fail to uncover fully the information being sought. And
references to web sites or other repositories of information in lieu of a narrative
response to such interrogatories often creates more problems than it solves. That
appears to be the problem here. Moreover, it may be that Plaintiffs RFPs are
overbroad and burdensome in scope as written (going back in some instances to 1995).
So, Plaintiffs Motion is denied as to RFP Nos. 34 and 35 even as to documentation of
more recent maintenance work because it is not clear what documentation exists that
can be readily produced to Plaintiff. And while CHA's response to INT No. 11 may be
insufficient, the better discovery vehicle for this information most likely is a Rule
30(b)(6) deposition followed, if necessary, by more targeted requests for production or

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interrogatories. That exercise may reveal the existence of documentation about
CHA's maintenance process that can be readily produced to Plaintiff, and for what
period of time. To be clear, the Court does not doubt some of the information about
maintenance and work orders that Plaintiff is seeking is relevant, but it cannot say
on this record that CHA must do more to respond to these specific discovery requests
than it has done. Plaintiff says, "CHA has provided minimally responsive
information, falling well-short of its obligation to answer each interrogatory 'fully'
FRCP 33(b)(3)," Reply [ECF No. 475] at 6, but it is not immediately clear to the Court
what more the Court can order CHA to do other than to order it to "do better" which
probably would not be that helpful. Therefore, Plaintiff's Motion also is denied as to
INT No. 11.
       RFP No. 33. This request for production seeks a color-coded chart or table
documenting the status of work order requests in the Henry Horner Community since
2022. CHA does not respond to Plaintiff's Motion in this regard. Plaintiff says CHA
produced the same chart in response to this RFP and to RFP No. 32, but the chart is
not color-coded. Plaintiff wants a color-coded chart. CHA said it would produce such
a chart in responding to RFP No. 33, so it appears such a chart exists. Therefore, the
Court grants Plaintiff's Motion in this respect as to RFP No. 33 because CHA waived
any objection to the RFP and, seemingly, intended to produce a responsive document.
Ifit has not already done so, CHA must do so now.
       INT No. 14. This is another instance in which Plaintiff has asked CHA to
provide a narrative answer - "state the length of time the unit has been unoccupied
[and] describe the plans for moving residents into this unit" and "summarize the
plans for rehabilitation of the unit." Plaintiff says the documents CHA has produced
in lieu of a narrative answer do not completely respond to the subsections of the
interrogatory quoted above. The Court's view is the same as discussed above: Plaintiff
should take a Rule 30(b)(6) deposition if it cannot get a better response to its
interrogatory from CHA. Therefore, Plaintiffs Motion is denied in this respect.
       RFP No. 9. This request asks for "[a]ll documents related to the most recent
Physical Needs Assessment (PNA) completed by the CHA or a third party for
buildings and units governed by the Consent Decree." CHA did not object to this RFP
but simply said its "[i]nvestigation continues." CHA apparently produced the PNA,
but Plaintiff also wants to know "how the CHA and the property management
company are digesting and using the information in the PNAs to responsibly inform
capital budgets and capital plans." Motion at 14. Again, this request for production
effectively requires CHA to produce documents that illuminate a process. It is
difficult for the Court to understand what finite set of documents needs to be produced
to comply with this request. For similar reasons as discussed above, this may be an
appropriate topic for a Rule 30(b)(6) deposition. In addition, Plaintiff's RFP as
written, which seeks "all documents" related to the PNA, is overbroad. Therefore,
Plaintiffs Motion is denied in this respect.


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        RFP No. 44. This RFP asks CHA to produce any transition book used to
communicate issues to an incoming manager or management company within the
Henry Horner Community since 2021. CHA produced what it characterized as a
"transition binder" in response to RFP No. 38. Again, Plaintiff is looking to clarify the
process CHA goes through during a transition to an incoming property manager or
management company. CHA says it produced its transition binder and that is a
sufficient response to this request for production. Plaintiff wants to know if the
documentation CH..!\. produced provides a complete response to Plaintiff's inquiry. The
parties should meet and confer, in person or by telephone and not by email, about
that issue. If, as Plaintiff suspects, CHA has more information to produce on this topic
that is prnportional to the needs of the case, that conferral should uncover it, and
CHA must produce it. If not, then the better vehicle for obtaining this information,
again, is a Rule 30(b)(6) deposition rather than a court order compelling CRI\ to
produce more documents.
       RFP Nos. 6, 13, 16-22, 40 and Request for Admission No. 16. CHA
supplemented its responses to these discovery requests after Plaintiff filed its Motion.
Except for RFP No. 6, Plaintiff does not say anything about these discovery requests
or the request for admission in its Reply, so the Court assumes CHA's
supplementation was sufficient for Plaintiffs purposes. Therefore, Plaintiffs Motion
is denied in these respects.
       With respect to RFP No. 6, Plaintiff acknowledges CHA's supplemental
response, but it says it does not know whether CHA's supplemental response is
"exhaustive." The Court, frankly, does not know what Plaintiff means by that
comment. The parties can meet and confer about this issue, and Plaintiff can bring
to the Court's attention any unresolved issues if it is necessary to do so in the future.
For now, however, since CHA supplemented its response to RFP No. 6 and it is
unclear whether it must do anything else to fully respond to that request for
production, Plaintiffs Motion is denied in this respect as well.
       Finally, Plaintiff seeks its attorneys' fees and expenses incurred in filing the
Motion. That request is denied. Plaintiffs Motion was granted in part and denied in
part. In the Court's discretion, the p1·ocess of apportioning attorneys' fees and
expenses between successful and unsuccessful arguments would not be a productive
exercise or a good use of anyone's time. Accordingly, the parties shall bear their own
fees and expenses arising from the briefing of Plaintiffs 1\IIotion.
      Accordingly, for all these reasons, Plaintiffs Motion to Co      el Discovery and
  For Other Relief [ECF No. 472] is granted in part and denied i
      It is so ordered.



                                                                Iagistrate Judge
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Dated: May 28, 2025

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